       Case 2:03-cr-00391-JAM Document 64 Filed 08/26/05 Page 1 of 2



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                                               OK/HAV
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 7

 8               IN THE UNITED STATES DISTRICT COURT FOR THE

 9                       EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,      )         CR. NO. S-03-391 DFL
                                    )
12                  Plaintiff,      )
                                    )         STIPULATION; ORDER
13                                  )
     EFAME CRUMBY,                  )
14                                  )
                    Defendant.      )
15   _______________________________)

16       Defendant Efame Crumby, through Collin L. Cooper, Attorney At

17   Law, and the United States of America, through Assistant U.S.

18   Attorney Kenneth J. Melikian, agree that the status conference

19   scheduled for August 25, 2005, be vacated.         The parties further

20   stipulate that a status conference be placed on the court’s

21   September 8, 2005, calendar.

22       The parties are still involved in efforts to negotiate a

23   disposition in this case.     The negotiations have proceeded well,

24   and are in the final stages.      The parties are requesting a final

25   continuance so that it can be determined whether the case will be

26   settled, or whether it will proceed to trial.

27        For these reasons, the parties request that a status

28   conference in this case be scheduled for September 8, 2005.        The

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       Case 2:03-cr-00391-JAM Document 64 Filed 08/26/05 Page 2 of 2



 1   parties further agree that time should be excluded through

 2   September 8, 2005, from computation under the Speedy Trial Act

 3   pursuant to local code T4 (18 U.S.C. § 3161(h)(8)(B)(iv)) in order

 4   to allow defense counsel to prepare his case.

 5   DATED: August 24, 2005              Very truly yours,

 6                                       McGREGOR W. SCOTT
                                         United States Attorney
 7
                                         /s/ Kenneth J. Melikian
 8
                                         By
 9                                         KENNETH J. MELIKIAN
                                         Assistant U.S. Attorney
10

11   DATED: August 24, 2005              /s/ Kenneth J. Melikian
                                         COLLIN L. COOPER
12                                       Attorney for Defendant
                                         (Signed by Kenneth J. Melikian
13                                        per authorization by Collin L.
                                          Cooper)
14

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16        IT IS SO ORDERED.

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18   DATED: 8/25/2005

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21                                            DAVID F. LEVI
                                              United States District Judge
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